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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

 In the Matter of:                                                  Chapter 11
 LEGACY ENTERPRISES OF                                              Case No.: 24-03477-5-JNC
 NORTH AMERICA, LTD
        Debtor

     MOTION FOR TURNOVER OF PROPERTY OF THE BANKRUPTCY ESTATE

        COMES NOW Legacy Enterprises of North America, LTD (“Debtor”), by and through

 undersigned counsel, and hereby moves the court for an order, pursuant to 11 U.S.C. §§ 541 and

 542, directing The Garage (“Garage”) to turn over personal property owned by Debtor, and in

 support thereof, respectfully shows unto the court as follows:

        1.      This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 151, 157, and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(E).

        2.      On or about October 4, 2024, Debtor filed its Voluntary Petition for relief under

 Subchapter V of Chapter 11 of the Bankruptcy Code (the “Petition Date”). Joseph Frost was duly

 appointed Subchapter V Trustee and continues to serve in that capacity.

        3.      Included on the Debtor’s Schedule A/B is a 2017 Freightliner truck bearing VIN
 3AKJGLDRXHDHN5813 (the “Truck”).

        4.      On the Petition Debtor, Debtor estimated that the Truck has a value of $15,000.00.

        5.      On October 22, 2024 Huntington National Bank (“Huntington”) filed a secured claim
 in the amount of $292,415.81, asserting a lien on the Truck (among others). [Clm. No. 3]

        6.      Pre-petition, the Truck was being garaged at (“Garage”) located in Memphis,
 Tennessee.

        7.      Debtor disputes how Garage came into possession of the Truck.

        8.      On the Petition Date, Debtor scheduled an amount owed to Garage of $8,995.00.

        9.      On October 31, 2024, Debtor filed its Amendments to Schedule E/F – Unsecured
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 Creditors, which inter alia, amends the scheduled amount owed to Garage to include that such is
 “Disputed.” [Doc. No. 21, p. 1, 6]

        10.     As of the filing of this Motion, Garage has not filed a proof of claim.

        11.     Debtor’s counsel spoke with a representative of Garage on November 14, 2024, Mr.
 Keon Jackson (“Mr. Jackson”). Mr. Jackson reported that Garage had sold Truck to an unnamed
 person several months ago and had determined that the unnamed person had committed a fraud on
 Garage through that sale. Reportedly, the unnamed person provided a false check, and the location
 of the Truck was unknown. According to Mr. Jackson, Garage has not reported Truck stolen.
 According to Mr. Jackson, Garage did not correctly follow the steps to sell the Truck. Debtor’s
 counsel requested all documentation related to the Truck and the supposed “sale,” and was told that
 Mr. Jackson would email it to Debtor’s counsel. Counsel sent a follow up email request, and left a
 voicemail for Mr. Jackson, on November 18, 2024. Counsel received an email from Mr. Jackson on
 November 18, 2024 which contained some information, but not all. Counsel sent another email to
 Mr. Jackson on November 19, 2024, asking for all additional documentation. Mr. Jackson has not
 responded to Debtor’s counsel’s November 19, 2024 email.

        12.     Debtor disputes the storage, any alleged repairs, and the purported sale of the Truck
 by Garage.

        13.     If Debtor is able to regain possession of the Truck, it would be utilized to generate

 funds to pay debts.

        14.     Further, the Truck is property of Debtor and the bankruptcy estate necessitating its

 immediate turnover.

        WHEREFORE, Debtor prays for the following relief:

        1.      For an Order directing The Garage to immediately turnover the Truck, to Debtor; and,

        2.      For such other and further relief as the court may deem just and proper.

        This the 25th day of November, 2023.

                                                              s/George Mason Oliver
                                                              GEORGE MASON OLIVER
                                                              N.C. State Bar No. 26587
                                                              THE LAW OFFICES OF
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                                                 OLIVER & CHEEK, PLLC
                                                 PO Box 1548
                                                 New Bern, NC 28563
                                                 (252) 633-1930
                                                 (252) 633-1950 (fax)
                                                 Email: george@olivercheek.com
                                                 Attorney for Debtor
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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                GREENVILLE DIVISION

 In the Matter of:                                                         Chapter 11
 LEGACY ENTERPRISES OF                                                     Case No.: 24-03477-5-JNC
 NORTH AMERICA, LTD
        Debtor


                          NOTICE OF MOTION FOR TURNOVER OF
                         PROPERTY OF THE BANKRUPTCY ESTATE

       NOTICE IS HEREBY GIVEN of the MOTION FOR TURNOVER OF PROPERTY OF
 THE BANKRUPTCY ESTATE (the “Motion”) filed simultaneously herewith by the attorneys for
 Legacy Enterprises of North America, LTD, in the above-captioned case; and,

          FURTHER NOTICE IS HEREBY GIVEN, that this Motion may be allowed provided no
 response and request for a hearing is made by Debtor or other party in interest in writing to the clerk
 of this court within FOURTEEN (14) DAYS of the date of this Notice; and,

          FURTHER NOTICE IS HEREBY GIVEN, that if a response and a request for hearing is
 filed by Debtor or other party in interest named herein in writing within the time indicated, a hearing
 will be conducted on the Motion and response thereto at a date, time and place to be later set by this
 court and all interested parties will be notified accordingly. If no request for a hearing is timely filed,
 the court may rule on the Motion and response thereto ex parte without further notice. Any party
 filing a response requesting a hearing, shall appear at said hearing or they may be taxed with court
 costs.

         This, the 25th day of November, 2023.

                                                                  s/George Mason Oliver
                                                                  GEORGE MASON OLIVER
                                                                  N.C. State Bar No. 26587
                                                                  THE LAW OFFICES OF
                                                                  OLIVER & CHEEK, PLLC
                                                                  PO Box 1548
                                                                  New Bern, NC 28563
                                                                  (252) 633-1930
                                                                  (252) 633-1950 (fax)
                                                                  Email: george@olivercheek.com
                                                                  Attorney for Debtor
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                                 CERTIFICATE OF SERVICE

        I, George Mason Oliver, Post Office Box 1548, New Bern, North Carolina 28563, certify:

        That I am at all times hereinafter mentioned was, more than eighteen (18) years of age;

         That on the 25th day of November, 2024, I served copies of the foregoing pleading on the
 parties listed below via CM/ECF or by U.S. Mail, First Class, sufficient postage prepaid, as
 indicated; and

        I certify under penalty of perjury that the foregoing is true and correct.

        This, the 25th day of November, 2024.

                                                               s/George Mason Oliver
                                                               GEORGE MASON OLIVER
                                                               N.C. State Bar No. 26587
                                                               THE LAW OFFICES OF
                                                               OLIVER & CHEEK, PLLC
                                                               PO Box 1548
                                                               New Bern, NC 28563
                                                               (252) 633-1930
                                                               (252) 633-1950 (fax)
                                                               Email: george@olivercheek.com
                                                               Attorney for Debtor

 cc:
 Bankruptcy Administrator      (via CM/ECF)

 Joseph Z. Frost               (via CM/ECF)
 Subchapter V Trustee

 Legacy Enterprises of         (via U.S. Mail)
 North America, LTD
 809 Taylor Street
 Windsor, NC 27983
 Debtor

 The Garage                    (via U.S. Mail)
 Attn: Managing Agent
 2174 Lama Avenue
 Memphis, TN 38114
 Creditor
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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

 In the Matter of:                                                  Chapter 11
 LEGACY ENTERPRISES OF                                              Case No.: 24-03477-5-JNC
 NORTH AMERICA, LTD
        Debtor

       ORGER GRANTING MOTION FOR TURNOVER OF PROPERTY OF THE
                        BANKRUPTCY ESTATE

        THIS MATTER, coming on to be heard before the assigned Bankruptcy Judge, upon
 Debtor’s Motion For Turnover of Property of the Bankruptcy Estate (“Motion”); and it appearing
 to the Court that proper notice was provided to the parties in interest, and no objections having
 been filed; and it further appearing that sufficient cause has been shown; therefore, makes the
 following FINDINGS OF FACT and CONCLUSIONS OF LAW:
        1.     This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 151, 157, and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(E).

        2.     On or about October 4, 2024, Debtor filed its Voluntary Petition for relief under

 Subchapter V of Chapter 11 of the Bankruptcy Code (the “Petition Date”). Joseph Frost was

 duly appointed Subchapter V Trustee and continues to serve in that capacity.

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        7.      Debtor disputes how Garage came into possession of the Truck.
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 and the location of the Truck was unknown. According to Mr. Jackson, Garage has not reported
 Truck stolen. According to Mr. Jackson, Garage did not correctly follow the steps to sell the
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 “sale,” and was told that Mr. Jackson would email it to Debtor’s counsel. Counsel sent a follow
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 an email from Mr. Jackson on November 18, 2024 which contained some information, but not
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 documentation. Mr. Jackson has not responded to Debtor’s counsel’s November 19, 2024 email.
        12.     Debtor disputes the storage, any alleged repairs, and the purported sale of the
 Truck by Garage.
        13.     If Debtor is able to regain possession of the Truck, it would be utilized to generate

 funds to pay debts.

        14.     Further, the Truck is property of Debtor and the bankruptcy estate necessitating

 its immediate turnover.

        IT IS HEREBY ORDERED that the Debtor’s Motion is GRANTED and that The Garage
 shall immediately turnover the Truck to Debtor.


                                            “End of Document”
